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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

 GEORGE BRINCKU and BRENDA BRINCKU,

                        Plaintiff,

 vs.                                      Case No.    2:11-cv-338-FtM-29DNF

 NATIONAL GYPSUM COMPANY, a Delaware
 corporation

                     Defendant.
 ___________________________________


                              OPINION AND ORDER

       This matter comes before the Court on Defendant New NGC,

 Inc.’s Motion for Summary Judgment (Doc. #171) filed on March 16,

 2012.    Plaintiffs’ Response In Opposition (Doc. #193) was filed on

 April 16, 2012, while defendant’s Reply (Doc. #208) was filed on

 April 26, 2012.

       There are also several pending motions related to the request

 for summary judgment which must first be resolved.                Plaintiffs’

 Motion to Strike References and Exhibits Relating to Scientific

 Studies of Chinese Drywall on Summary Judgment Motion (Doc. #188)

 was filed on April 16, 2012.          Defendant’s Response in Opposition

 (Doc. #210) was filed on May 3, 2012.          The Court will grant the

 motion in part. Only references and exhibits relating to American-

 made drywall, including National Gypsum drywall manufactured at the

 Apollo    Beach,   Florida   plant,    will   be    considered;    the   other

 references and exhibits will be stricken.
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       Defendant     filed     a   Motion     to   Exclude    Expert     Reports   and

 Testimony of Plaintiffs’ Expert Witnesses David C. Straus and John

 Sam Sutton (Doc. #172) on March 16, 2012, to which plaintiffs filed

 a   Response   in        Opposition   (Doc.       #189)    on   April    16,   2012.

 Additionally, a Reply (Doc. #207), a Supplemental Brief (Doc.

 #229), and a Reply to Plaintiffs’ Supplemental Brief (Doc. #232)

 were also filed.         This motion seeks to strike evidence relating to

 a   new   theory    of    liability   proffered       by    various     experts   for

 plaintiffs.    In an Opinion and Order (Doc. #222) filed on June 15,

 2012, the Court precluded evidence of this new theory from Dr.

 Straus. The same rationale requires granting the motion to exclude

 to the extent the evidence relates to the new, untimely theory

 relating to “ST/Sulfuric Acid.”

       As the Joint Final Pretrial Statement (Doc. #214) establishes,

 plaintiffs now rely exclusively on the new theory of liability

 which the Court has precluded in its prior Opinion and Order.

 Plaintiffs’ experts have abandoned the prior theory of liability,

 and there is no summary judgment evidence which would allow a

 reasonable jury to find liability on the basis of the prior theory.

 Accordingly, defendant National Gypsum Company is entitled to

 summary judgment in its favor.

       Accordingly, it is now




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      1.     Defendant New NGC, Inc.’s Motion for Summary Judgment

 (Doc. #171) is GRANTED and judgment shall be entered in favor of

 National Gypsum Company and plaintiffs shall take nothing.

      2.     Plaintiffs’ Motion to Strike References and Exhibits

 Relating to Scientific Studies of Chinese Drywall on Summary

 Judgment Motion (Doc. #188) is GRANTED IN PART.           Only references

 and exhibits relating to American-made drywall, including National

 Gypsum drywall manufactured at the Apollo Beach, Florida plant,

 will be considered; the other references and exhibits will be

 stricken.

      3. Defendant’s Motion to Exclude Expert Reports and Testimony

 of Plaintiffs’ Expert Witnesses David C. Straus and John Sam Sutton

 (Doc. #172) is GRANTED.

      4.     The Clerk of the Court shall enter judgment in favor of

 National Gypsum Company and against plaintiffs, who shall take

 nothing. The Clerk shall further terminate any pending motions and

 deadlines and close the case.

      DONE AND ORDERED at Fort Myers, Florida, this           24th   day of

 July, 2012.




 Copies: Counsel of record


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